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KATHLEEN A LEAVITT
CHAPTER 13 STANDING TRUSTEE                                                                                   e-filed on 08/16/2013
201 LAS VEGAS BLVD SOUTH
SUITE 200
LAS VEGAS, NV 89101
(702)853-0700
kal13mail@las13.com

                                                    UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF NEVADA

IN RE:                                                                                                        CHAPTER 13
LANCE REED ATCHISON                                                                                           CASE NO: BKS-09-31139-LBR
CHERYL LOUISE ATCHISON
4851 VILLA CARMEN CIRCLE
NORTH LAS VEGAS, NV 89031

                                 CHAPTER 13 FINAL ACCOUNT AND REPORT - COMPLETED (BAPCPA)


     Pursuant to Fed. R. Bankr P. 5009, Kathleen A. Leavitt, Chapter 13 Bankruptcy Trustee, certifies that, based on their records the Debtor's Chapter 13
bankruptcy estate has been fully administered and/or the Debtor has completed all payments under the plan. Accordingly, the Trustee hereby submits the
following Final Account and Report of the Administration of the estate pursuant to 11 USC Sec. 1302 (b)(1).

Any objection to the Trustee's Final Account and Report must be written, state the grounds of objection, and be filed no later than 9/20/13, with the Clerk,
United States Bankruptcy Court, Foley Federal Building, 300 Las Vegas Boulevard South, 3rd Floor,Las Vegas, NV 89101, with a copy served upon Kathleen
A. Leavitt, Chapter 13 Bankruptcy Trustee, 302 E Carson, Suite 300, Las Vegas, NV 89101. In the absence of a timely filed Objection, the Bankruptcy Court
may, if appropriate, issue the debtor(s) a Discharge. In the event an objection is timely filed, the objecting party shall serve a copy of the objection upon the
Trustee at the above address pursuant to Local Bankruptcy Rule 9014.
Case Filed Date:                Date Plan Confirmed:               Date Case Closed:
11/06/2009                      03/25/2010                         08/07/2013

Total funds received and disbursed pursuant to the plan:           13,519.60                 Detail of Disbursements below:

         CREDITOR NAME                  CLERK'S       TRUSTEE'S CLASS OF CLAIM                 ALLOWED CLAIM               PRINCIPAL PAID         INTEREST
                                        CLAIM #       CLAIM NO.                                   AMOUNT                                            PAID
PHILIP K GOLDSTEIN, ESQ                                    00000       PRIOR ATTORNEY                           5,999.00               5,999.00            0.00

APPLIED BANK CARD                            10            00002          UNSECURED                               409.64                   8.92            0.00

JP MORGAN CHASE BANK,                        2             00003      RESIDENCE MORTG                           4,448.26               4,448.26            0.00
NATIONAL ASSOCIATION                                                    ARREARS PRE
CITIFINANCIAL RETAIL SERVICES                4             00004         UNSECURED                              4,336.87                 94.36             0.00
INC
CAPITAL ONE BANK (USA) NA                    8             00005          UNSECURED                             1,057.73                 16.08             0.00

PRA RECEIVABLES MANAGEMENT                   7             00006          UNSECURED                             3,399.39                 66.95             0.00
LLC AS AGENT OF
Dept. of Employment                                        00007        UNSECURED BY                                0.00                   0.00            0.00
                                                                           MATRIX
FINANCIAL PACIFIC LEASING LLC                5             00008         UNSECURED                              8,411.25                165.63             0.00

PRA RECEIVABLES MANAGEMENT                   6             00009          UNSECURED                               700.93                 15.25             0.00
LLC AS AGENT OF
HSBC MORTGAGE SERVICES                       11            00010          UNSECURED                            92,619.72               1,823.77            0.00

PRA RECEIVABLES MANAGEMENT                   3             00011          UNSECURED                             1,408.93                 30.65             0.00
LLC
SPIRIT OF AMERICA NATIONAL                   1             00012          UNSECURED                               191.53                   0.00            0.00
BANK/LANE BRYANT
Nevada Dept. of Taxation                                   00013        UNSECURED BY                                0.00                   0.00            0.00
                                                                           MATRIX
CAPITAL ONE BANK USA                                       00019         UNSECURED                                  0.00                   0.00            0.00

CAPITAL ONE BANK (USA) NA                    9             00020          UNSECURED                             1,962.00                 34.23             0.00



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ATCHISON, LANCE REED and ATCHISON, CHERYL LOUISE                                                CASE NO: BKS-09-31139-LBR

        CREDITOR NAME                CLERK'S      TRUSTEE'S CLASS OF CLAIM                    ALLOWED CLAIM              PRINCIPAL PAID    INTEREST
                                     CLAIM #      CLAIM NO.                                      AMOUNT                                      PAID
JP MORGAN CHASE BANK,                    2               00022         RESIDENCE                            160,453.61              0.00         0.00
NATIONAL ASSOCIATION                                                MORTGAGE DIRECT
LAURA L FRITZ ESQ                                        00000        Administrative                             $0.00             $0.00


The debtor(s) attorney, LAURA L FRITZ ESQ, was allowed $0.00 of which $0.00 was paid directly by the debtor(s) and $0.00 was paid from the plan. The
filing fee has been paid to the clerk directly by the debtor/debtor's Attorney.

Disbursement Summary:

         Trustee Fees Pursuant to 11 USC 1326 (b)                         $816.50
         11 USC 503(b) Administrative Expenses                            $0.00
         Sanctions/Additional Expenses                                    $0.00
         Attorney's Fees                                                  $0.00
         Previous Attorney Fees                                           $5,999.00
         Priority                                                         0.00
         Secured                                                          4,448.26
         Unsecured                                                        2,255.84
         Refund to the Debtor and/or Chapter 7 Trustee                    $0.00

                                                                 Total    $13,519.60



Dated: 8/16/13                                                                Submitted by:

                                                                              /s/ Kathleen A. Leavitt
                                                                              KATHLEEN A. LEAVITT
                                                                              Chapter 13 Standing Trustee




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KATHLEEN A LEAVITT
CHAPTER 13 STANDING TRUSTEE
201 Las Vegas Blvd South
Suite 200
Las Vegas, NV 89101
(702)853-0700

                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA

IN RE:                                                         CASE NO: BKS-09-31139-LBR
LANCE REED ATCHISON                                            Chapter 13
CHERYL LOUISE ATCHISON



                          Debtor (s)

                                  CERTIFICATE OF SERVICE

1. On August 16, 2013, I served the following document(s):

    CHAPTER 13 FINAL ACCOUNT AND REPORT - COMPLETED (BAPCPA)


2. I served the above- named document(s) by the following means to the persons as listed below:

    United States mail, postage fully prepaid

UNITED STATES BANKRUPTCY COURT APPLIED BANK                                CHASE/WAMU
300 LAS VEGAS BLVD., SOUTH     P.O. BOX 17120                              PO BOX 78148
LAS VEGAS, NV 89101            WILMINGTON, DE 19886                        PHOENIX, AZ 85062




CITI FINANCIAL                         CAPITAL ONE                         CARE CREDIT
3250 N. TENAYA WAY STE 109             P.O. BOX 60599                      P.O. BOX 960061
LAS VEGAS, NV 89129                    CITY OF INDUSTRY, CA 91716          ORLANDO, FL 32896




DEPT. OF EMPLOYMENT                    FINANCIAL PACIFIC                   GE MONEY BANK
500 E. THIRD ST.                       3455 S. 344TH WAY STE 300           P.O. BOX 960061
CARSON CITY, NV 89713                  FEDERAL WAY, WA 98001               ORLANDO, FL 32896




HFC                                    JC PENNEY                           LANE BRYANT RETAIL
7035 WEST ANN ROAD #160                P.O. BOX 960090                     P.O. BOX 427
LAS VEGAS, NV 89130                    ORLANDO, FL 32896                   MILFORD, OH 45150




NEVADA DEPT. OF TAXATION               US TRUSTEE                          CHERYL LOUISE ATCHISON
555 E. WASHINGTON #1300                300 LAS VEGAS BLVD SO. #4300        4851 VILLA CARMEN CIRCLE
LAS VEGAS, NV 89101                    LAS VEGAS, NV 89101                 NORTH LAS VEGAS, NV 89031




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ATCHISON, LANCE REED and ATCHISON, CHERYL LOUISE                             CASE NO: BKS-09-31139-LBR

          KATHLEEN A. LEAVITT                LANCE REED ATCHISON              PHILIP K GOLDSTEIN
          201 LAS VEGAS BLVD., SO. #200      4851 VILLA CARMEN CIRCLE         609 S 7TH ST
          LAS VEGAS, NV 89101                NORTH LAS VEGAS, NV 89031        LAS VEGAS, NV 89101




          609 S 7TH ST|LAS VEGAS, NV 89101   CHASE HOME FINANCE, LLC.         HSBC MORTGAGE SERVICES, INC.
          LAS VEGAS, NV 89101                MAIL CODE LA4-5555 700 KANSAS    636 GRAND REGENCY BLVD.
          , 00000                            LANE                             BRANDON, FL 33510
                                             MONROE, LA 71203



          JPMORGAN CHASE BANK, N.A.          PRA RECEIVABLES MANAGEMENT LLC CITIFINANCIAL INC
          MALCOLM CISNEROS                   POB 41067                      P.O. BOX 140489
          2112 BUSINESS CENTER DRIVE         NORFOLK, VA 23541              IRVING, TX 75014-0489
          SECOND FLOOR
          IRVINE, CA 92612

          APPLIED BANK                       APPLIED BANK                     CHASE/WAMU
          POB 17125                          P.O. BOX 17120                   PO BOX 78148
          WILMINGTON, DE 19850-7125          WILMINGTON DE 19886              PHOENIX AZ 85062
                                             , 19886                          , 85062



          CITI FINANCIAL                     CAPITAL ONE                      CAPITAL ONE BANK (USA), N.A.
          3250 N. TENAYA WAY STE 109         P.O. BOX 60599                   BY AMERICAN INFOSOURCE LP AS
          LAS VEGAS NV 89129                 CITY OF INDUSTRY CA 91716        AGENT
          , 89129                            , 91716                          PO BOX 71083
                                                                              CHARLOTTE, NC 28272-1083

          CARE CREDIT                        DEPT. OF EMPLOYMENT              FINANCIAL PACIFIC LEASING, LLC
          P.O. BOX 960061                    500 E. THIRD ST.                 PO BOX 4568
          ORLANDO FL 32896                   CARSON CITY NV 89713             FEDERAL WAY, WA 98063-4568
          , 32896                            , 89713



          FINANCIAL PACIFIC                  GE CAPITAL CORP                  GE CONSUMER FINANCE
          3455 S. 344TH WAY STE 300          4125 WINDWARD PLAZA DRIVE        FOR GE MONEY BANK
          FEDERAL WAY WA 98001               ALPHARETTA GA 30005              DBA BIG O TIRES/GEMB
          , 98001                            , 30005                          PO BOX 960061
                                                                              , 32896-0661

          GE CONSUMER FINANCE                GE MONEY BANK                    HFC
          FOR GE MONEY BANK                  P.O. BOX 960061                  7035 WEST ANN ROAD #160
          DBA CARE CREDIT/GEMB               ORLANDO FL 32896                 LAS VEGAS NV 89130
          PO BOX 960061                      , 32896                          , 89130
          , 32896-0661

          HSBC MORTGAGE SERVICES, INC        JC PENNEY                        JP MORGAN CHASE BANK, NATIONAL
          636 GRAND REGENCY BLVD             P.O. BOX 960090                  ASSOCIATION
          BRANDON, FL 33510                  ORLANDO FL 32896                 7255 BAY MEADOWS WAY
                                             , 32896                          JACKSONVILLE, FL 32256



          LANE BRYANT RETAIL                 NEVADA DEPT. OF TAXATION         PRA RECEIVABLES MANAGEMENT,
          P.O. BOX 427                       555 E. WASHINGTON #1300          LLC
          MILFORD OH 45150                   LAS VEGAS NV 89101               AS AGENT OF PORTFOLIO RECOVERY
          , 45150                            , 89101                          ASSOCS.
                                                                              PO BOX 12914
                                                                              NORFOLK VA 23541




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ATCHISON, LANCE REED and ATCHISON, CHERYL LOUISE                                CASE NO: BKS-09-31139-LBR

          SPIRIT OF AMERICA NATIONAL       US TRUSTEE                            LAURA L. FRITZ
          BANK/LANE BRYANT                 300 LAS VEGAS BLVD SO. #4300          609 S. 7TH ST.
          FIRST EXPRESS                    LAS VEGAS NV 89101                    LAS VEGAS, NV 89101
          PO BOX 856132                    , 89101
          LOUISVILLE, KY 40285-6132



          I declare under penalty of perjury that the foregoing is true and correct.
          Signed on: 08/16/2013                                    /s/ Esther Carr
                                                                   Employee of
                                                                   Kathleen A. Leavitt
                                                                   Chapter 13 Standing Trustee




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